                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF TENNESSEE
                        KNOXVILLE DIVISION


  PAM BELL,                              *
  an individual,                         *
                                         *
        PLAINTIFF,                       *
                                         *
  v.                                     * Case No._______________
                                         *
  BFD PROPERTIES, INC.,                  *
  a domestic corporation,                *
                                         *
            DEFENDANT.                   *
                                         *


                                   COMPLAINT

        Plaintiff, PAM BELL (“BELL” or “Plaintiff”) hereby sues Defendant, BFD

 PROPERTIES, INC., domestic corporation, (hereinafter “Defendant”) pursuant to

 the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”), and its

 implementing regulations, the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36

 (“ADAAG”) and alleges as follows:

                         JURISDICTION AND PARTIES

       1.     This is an action for declaratory and injunctive relief pursuant to Title

 III of the ADA. This Court is vested with original jurisdiction over the action

 pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C.

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 § 12181 et seq., based upon Defendant’s, BFD PROPERTIES, INC., failure to

 remove physical barriers to access and violations of Title III of the ADA.

        2.    Venue is properly located in the EASTERN DISTRICT OF

 TENNESSEE IN THE KNOXVILLE DIVISION pursuant to 28 U.S.C. § 1391(b)

 because venue lies in the judicial district of the property situs or the judicial district

 in which a substantial part of the events or omissions giving rise to Plaintiff’s claims

 occurred. The Defendant’s property is located in and does business within this

 judicial district and all events giving rise to this lawsuit occurred in this judicial

 district.

        3.    Plaintiff, PAM BELL, is and has been at all times relevant to the instant

 matter, a natural person residing in Tennessee and is sui juris.

        4.    Plaintiff is an individual with disabilities as defined by the ADA.

        5.    Plaintiff is substantially limited in performing one or more major life

 activities, including but not limited to: walking and standing.

        6.    Plaintiff uses a wheelchair for mobility purposes.

        7.    Plaintiff is also an independent advocate of the rights of similarly

 situated disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s

 civil rights, monitoring, determining and ensuring whether places of public

 accommodation are in compliance with the ADA. Plaintiff’s motivation to return to

 a location, in part, stems from a desire to utilize ADA litigation to make her home

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 community more accessible for Plaintiff and others; and pledges to do whatever is

 necessary to create the requisite standing to confer jurisdiction upon this Court so an

 injunction can be issued correcting the numerous ADA violations on the Subject

 Property, including returning to the Subject Property as soon as it is accessible

 (“Advocacy Purposes”).

       8.      Defendant, BFD PROPERTIES, INC., is a domestic corporation

 conducting business in the State of Tennessee and within this judicial district.

                            FACTUAL ALLEGATIONS

       9.      On or about July of 2021, Plaintiff attempted to but was deterred from

  patronizing, and/or gaining equal access as a disabled patron to the Papa John's

  Pizza located at 503 N Cusick St., Maryville, TN 37804 (“Subject Facility”,

  “Subject Property”).

       10.     BFD PROPERTIES, INC. is the owner, lessor, and/or operator/lessee

 of the real property and improvements that are the subject of this action, specifically

 the Papa John's Pizza and its attendant facilities, including vehicular parking and

 common exterior paths of travel within the site identified by the Blount Assessor

 parcel identification number 046M A 011.00 (“Subject Facility”, “Subject

 Property”).

       11.     Plaintiff lives within thirty (30) miles of the Subject Property. Because

 the Subject Property is located on Cusick Street, a Maryville thoroughfare that she

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 frequents routinely, she is routinely where the Subject Property is located and travels

 in and about the immediate area of the Subject Property numerous times every

 month, if not every week.

       12.     Plaintiff’s access to the Subject Property and/or full and equal

 enjoyment of the goods, services, facilities, privileges, advantages and/or

 accommodations offered therein were denied and/or limited because of her

 disabilities, and she will be denied and/or limited in the future unless and until

 Defendant, BFD PROPERTIES, INC., is compelled to remove the physical barriers

 to access and correct the ADA violations that exist at the Subject Property, including

 those set forth in this Complaint.

       13.    Plaintiff has visited, i.e. attempted to patronize, the Subject Property on

 multiple prior occasions, and at least once before as a patron and advocate for the

 disabled. Plaintiff intends on revisiting the Subject Property within six months of the

 filing of this Complaint or sooner, as soon as the barriers to access detailed in this

 Complaint are removed. The purpose of the revisit is to be a regular patron, to

 determine if and when the Subject Property is made accessible, and to maintain

 standing for this lawsuit for Advocacy Purposes.

       14.    Plaintiff intends on revisiting the Subject Property to enjoy the same

 experiences, goods, and services available to Defendant’s non-disabled patron as

 well as for Advocacy Purposes, but does not intend to continue to repeatedly re-

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 expose herself to the ongoing barriers to equal access and engage in the futile gesture

 of attempting to patronize the Subject Property, a business of public accommodation

 known to Plaintiff to have numerous and continuing barriers to equal access for

 wheelchair users.

       15.    Plaintiff recently traveled to the Subject Property as a patron and as an

 independent advocate for the disabled, encountered and/or observed the barriers to

 access that are detailed in this Complaint, engaged those barriers where physically

 possible, suffered legal harm and legal injury, and will continue to suffer such harm

 and injury as a result of the illegal barriers to equal access present at the Subject

 Property.

                COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                   (Against Defendant for ADA Violations)

       16.    The effective date of Title III of the ADA was January 26, 1992 (or

  January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

  $500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

       17.    The Subject Property is a public accommodation and service

  establishment.

       18.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

  Department of Justice and Office of Attorney General promulgated federal

  regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.



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       19.    Public accommodations were required to conform to these regulations

  by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

  employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

  C.F.R. § 36.508(a).

       20.    The Subject Property must be, but is not, in compliance with the ADA

  and the ADAAG.

       21.    Plaintiff has attempted to, and has to the extent possible, accessed the

  Subject Property in her capacity as a patron at the Subject Property and as an

  independent advocate for the disabled, but could not fully do so because of her

  disabilities resulting from the physical barriers to access, dangerous conditions and

  ADA violations that exist at the Subject Property that preclude and/or limit her

  access to the Subject Property and/or the goods, services, facilities, privileges,

  advantages and/or accommodations offered therein, including those barriers,

  conditions and ADA violations more specifically set forth in this Complaint.

       22.    Plaintiff intends to visit the Subject Property again in the very near

  future as a patron and as an independent advocate for the disabled, in order to utilize

  all of the goods, services, facilities, privileges, advantages and/or accommodations

  commonly offered to able-bodied patrons of the Subject Property but will be unable

  to fully do so because of her disability and the physical barriers to access, dangerous

  conditions and ADA violations that exist at the Subject Property that preclude

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  and/or limit her access to the Subject Property and/or the goods, services, facilities,

  privileges, advantages and/or accommodations offered therein, including those

  barriers, conditions and ADA violations more specifically set forth in this

  Complaint.

       23.     Defendant, BFD PROPERTIES, INC., has discriminated against

  Plaintiff (and others with disabilities) by denying her access to, and full and equal

  enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of the Subject Property, as prohibited by, and by failing to remove

  architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

       24.     Defendant, BFD PROPERTIES, INC., will continue to discriminate

  against Plaintiff and others with disabilities unless and until BFD PROPERTIES,

  INC. is compelled to remove all physical barriers that exist at the Subject Property,

  including those specifically set forth herein, and make the Subject Property

  accessible to and usable by Plaintiff and other persons with disabilities.

       25.     A specific list of unlawful physical barriers, dangerous conditions and

  ADA violations which Plaintiff experienced and/or observed that precluded and/or

  limited Plaintiff’s access to the Subject Property and the full and equal enjoyment

  of the goods, services, facilities, privileges, advantages and accommodations of the

  Subject Property include, but are not limited to:


                         ACCESSIBLE ROUTES/PARKING
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                                      (Exterior)


             a. There is no van accessible parking present in violation
                of Section 4.6 of the 1991 ADAAG and Section 502 of
                the 2010 ADAAG. This violation made it dangerous
                Plaintiff to utilize the parking facility at the Subject
                Property and caused Plaintiff undue upset and loss of
                opportunity.

             b. There is no van accessible parking identified as such
                with upright “Van Accessible” signage in violation of
                Section 4.6 of the 1991 ADAAG and Sections 208, 302
                and 502 of the 2010 ADAAG. These violations made
                it dangerous for Plaintiff to utilize the parking facility
                at the Subject Property and caused Plaintiff loss of
                opportunity.

             c. There is no visible upright signage (displaying the
                International Symbol of Accessibility) designating any
                parking spaces as accessible in violation of Section 4.6
                of the 1991 ADAAG and Section 502 of the 2010
                ADAAG. These violations made it dangerous for
                Plaintiff to utilize the parking facility at the Subject
                Property and caused Plaintiff loss of opportunity.

             d. The paint delineating the purported accessible parking
                spaces and purported access aisles is not being
                maintained so that it clearly marks the accessible
                parking location in violation of 28 CFR § 36.211,
                Section 4.6 of the 1991 ADAAG, and Section 502.3.3
                of the 2010 ADAAG. These violations made it
                dangerous for Plaintiff to utilize the parking facility at
                the Subject Property and caused Plaintiff loss of
                opportunity.




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             e. The purported accessible parking spaces are not level
                in all directions and have areas of uneven, broken and
                cracked pavement because of Defendant’s history and
                practice of failing to inspect and maintain the parking
                surface in violation of 28 CFR § 36.211, Sections 4.5.1
                and 4.6.3 of the 1991 ADAAG and Sections 302 and
                502.4 of the 2010 ADAAG. These violations made it
                dangerous for Plaintiff to utilize the parking facility at
                the Subject Property and caused Plaintiff loss of
                opportunity.

             f. There is no accessible route provided within the site
                from the public sidewalk which serves the facility.
                Violation: There is no accessible route connecting the
                public sidewalk serving the subject facility and any
                accessible entrance(s) in violation of Section 4.3.2 of
                the 1991 ADAAG and Section 206.2.1 of the 2010
                ADAAG. These violations made it dangerous for
                Plaintiff to utilize the parking facility at the Subject
                Property and caused Plaintiff loss of opportunity.

                                       INTERIOR

             g. The sales counter is too high for wheelchair users.
                Violation: The sales counter exceeds the maximum
                allowable height of 36 inches from the finish floor in
                violation of Section 7.2 of the 1991 ADAAG and
                Sections 227.3 and 904.4 of the 2010 ADAAG. These
                violations made it dangerous for Plaintiff to utilize the
                parking facility at the Subject Property and caused
                Plaintiff loss of opportunity.

                            MAINTENANCE PRACTICES

             h. Defendant has a practice of failing to maintain the
                accessible features of the facility, creating barriers to
                access for the Plaintiff, as set forth herein, in violation
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                 of 28 CFR § 36.211. This practice prevented access to
                 the plaintiff equal to that of Defendant’s able-bodied
                 customers causing Plaintiff loss of opportunity.

              i. Defendant has a practice of failing to maintain the
                 accessible elements at the Subject Facility by
                 neglecting its continuing duty to review, inspect, and
                 discover transient accessible elements which by the
                 nature of their design or placement, frequency of usage,
                 exposure to weather and/or other factors, are prone to
                 shift from compliant to noncompliant so that said
                 elements may be discovered and remediated.
                 Defendant failed and continues to fail to alter its
                 inadequate maintenance practices to prevent future
                 recurrence of noncompliance with dynamic accessible
                 elements at the Subject Facility in violation of 28 CFR
                 § 36.211, the 1991 ADAAG, and the 2010 ADAAG.
                 These violations, as set forth hereinabove, made it
                 impossible for Plaintiff to experience the same access
                 to the goods, services, facilities, privileges, advantages
                 and accommodations of the Subject Facility as
                 Defendant’s able-bodied patrons and caused Plaintiff
                 loss of opportunity.

              j. Defendant has failed to modify its discriminatory
                 maintenance practices to ensure that, pursuant to its
                 continuing duty under the ADA, the Subject Property
                 remains readily accessible to and usable by disabled
                 individuals, including Plaintiff, as set forth herein, in
                 violation of 28 CFR § 36.302 and 36.211. This failure
                 by Defendant prevented access to the plaintiff equal to
                 that of Defendant’s able-bodied customers causing
                 Plaintiff loss of opportunity.

        26.   The discriminatory violations described above are not an exhaustive list

  of the Defendant’s current barriers to equal access and violations of the ADA

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  because Plaintiff was unable to access and assess all areas of the subject premises

  due to the architectural barriers encountered. A complete list of the subject location’s

  ADA violations affecting the Plaintiff as a wheelchair user, and the remedial

  measures necessary to remove same, will require an on-site inspection by Plaintiff’s

  representatives pursuant to Federal Rule of Civil Procedure 34. Once the Plaintiff

  personally encounters discrimination, as alleged above, or learns of discriminatory

  violations through expert findings of personal observation, she has actual notice that

  the defendant does not intend to comply with the ADA.

        27.    The Defendant has a practice of failing to maintain the accessible

  elements at the Subject Property by neglecting its continuing duty to review, inspect,

  and discover transient accessible elements which by the nature of its design or

  placement, frequency of usage, exposure to weather and/or other factors, are prone

  to shift from compliant to noncompliant, so that said elements are discovered and

  remediated. Defendant failed and continues to fail to alter its inadequate

  maintenance practices to prevent future recurrence of noncompliance with dynamic

  accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and

  36.211. These violations, as referenced hereinabove, made it impossible for Plaintiff,

  as a wheelchair user, to experience the same access to the goods, services, facilities,

  privileges, advantages and accommodations of the Subject Property as Defendant’s

  able-bodied patrons.

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        28.    Accessible elements at the Subject Property have been altered and/or

  constructed since 2010.

        29.    The foregoing violations are violations of the 1991 ADAAG, and the

  2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the

  2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of

  the alleged violations set forth herein can be modified to comply with the 1991

  ADAAG standards.

        30.    The removal of the physical barriers, dangerous conditions and ADA

  violations alleged herein is readily achievable and can be accomplished and carried

  out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

  U.S.C. § 12181(9); 28 C.F.R. § 36.304.

        31.    Each of the violations alleged herein is readily achievable to modify to

  bring the Subject Property into compliance with the ADA.

        32.    Removal of the physical barriers and dangerous conditions present at

  the Subject Property is readily achievable because of the site conditions at the

  Subject Property, the structural design of the subject facility, and the straightforward

  nature of the necessary modifications.

        33.    To assist businesses in offsetting the costs associated with complying

  with the ADA and removing barriers to access for individuals with disabilities,

  Section 44 of the IRS Code provides a tax credit for small business owners, and

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  Section 190 of the IRS Code provides a tax deduction for all business owners,

  including the Defendant.

        34.    Removal of the physical barriers and dangerous conditions at the

  Subject Property is readily achievable because of the relative low cost of the

  necessary modifications and the Defendant has the financial resources to make the

  modifications, including the financial assistance made available to Defendant by the

  government pursuant to Section 44 and/or Section 190 of the IRS Code.

        35.    By continuing to maintain and/or operate the Subject Property with

  discriminatory conditions in violation of the ADA, Defendant contributes to

  Plaintiff’s sense of isolation and segregation and deprives Plaintiff of the full and

  equal enjoyment of the goods, services, facilities, privileges, and accommodations

  available to able bodied individuals of the general public.

        36.    Defendant is required to remove the existing architectural barriers to

  the physically disabled when such removal is readily achievable for its places of

  public accommodation that have existed prior to January 26, 1992, 28 CFR

  36.304(a); additionally, if there has been an alteration to Defendant’s place of public

  accommodation since January 26, 1992, then Defendant is required to ensure to the

  maximum extent feasible, that the altered portions of the facility are readily

  accessible to and usable by individuals with disabilities, including people who use

  wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were designed

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  and constructed for first occupancy subsequent to January 26, 1993, as defined in 28

  CFR 36.401, then the Defendant’s facilities must be readily accessible to and useable

  by individuals with disabilities as defined by the ADA. To date, Defendant has failed

  to comply with this mandate.

         37.    Plaintiff is without adequate remedy at law and is suffering irreparable

  harm and reasonably anticipates that she will continue to suffer irreparable harm

  unless and until Defendant, BFD PROPERTIES, INC., is required to remove the

  physical barriers, dangerous conditions and ADA violations that exist at the Subject

  Property, including those alleged herein. Considering the balance of hardships

  between the Plaintiff and Defendant, a remedy in equity is warranted.

         38.    Plaintiff’s requested relief serves the public interest.

         39.    Plaintiff’s counsel is entitled to recover her reasonable attorneys’ fees

  and costs of litigation from Defendant, BFD PROPERTIES, INC., pursuant to 42

  U.S.C. §§ 12188, 12205 and 28 CFR 36.505. Plaintiff will be denied full and equal

  access to the subject premises, as provided by the ADA unless the injunctive relief

  requested herein is granted.

         40.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

  to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to

  make them readily accessible to, and useable by, individuals with disabilities to the

  extent required by the ADA, and closing the subject facilities until the requisite

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  modifications are completed, and ordering Defendant to fulfill its continuing duty to

  maintain the accessible features at the premises in the future as mandated by 28 CFR

  36.211.

        WHEREFORE, the Plaintiff prays as follows:

        A.     That the Court find Defendant, BFD PROPERTIES, INC.,
               in violation of the ADA and ADAAG;

        B.     That the Court enter an Order requiring Defendant, BFD
               PROPERTIES, INC., to (i) remove the physical barriers to
               access and (ii) alter the Subject Property to make the
               Subject Property readily accessible to and useable by
               individuals with disabilities to the full extent required by
               Title III of the ADA;

        C.     That the Court enter an Order directing Defendant,
               pursuant to 28 C.F.R. §36.211, to fulfill its continuing duty
               to maintain its accessible features and equipment so that
               the facility remains accessible to and useable by
               individuals with disabilities to the full extent required by
               Title III of the ADA;

        D.     That the Court enter an Order directing Defendant to
               implement and carry out effective policies, practices, and
               procedures to maintain the accessible features and
               equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.
               §36.211.

        E.     That the Court enter an Order directing Defendant to
               evaluate and neutralize its policies and procedures towards
               persons with disabilities for such reasonable time so as to
               allow them to undertake and complete corrective
               procedures;

        F.     An award of attorneys’ fees, costs (including expert fees),
               and litigation expenses pursuant to 42 U.S.C. § 12205 and
               an award of monitoring fees associated with insuring that
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              the Defendant is in compliance with the ADA.

        G.    An award of interest upon the original sums of said award
              of attorney’s fees, costs (including expert fees), and other
              expenses of suit; and

        H.    Such other relief as the Court deems just and proper,
              and/or is allowable under Title III of the Americans with
              Disabilities Act.

  Dated this the 30th day of March, 2022.


                                  Respectfully submitted,
                                  By: /s/ Rebecca J. Hutto
                                  Rebecca J. Hutto, Esq.
                                  Counsel for Plaintiff
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  DEFENDANT TO BE SERVED:
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